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            6.       BOP has scheduled vaginoplasty and breast augmentation procedures for Ms.

   Iglesias with Surgeon 2 for the end of March/beginning of April of 2023. 1

            7.       On November 23, 2022, Ms. Iglesias received a mammogram, at the direction of

   Surgeon 2, in anticipation of breast augmentation.

            8.       As Surgeon 2 indicated that he could not perform facial feminization for Ms.

   Iglesias, BOP arranged for a consultation with another provider (Surgeon 3) who was recommended

   by Surgeon 2. Ms. Iglesias had a consultation with Surgeon 3 on November 30, 2022.

            9.       I attended the consultation on November 30 along with Ms. Iglesias. BOP has not

   yet received records from the appointment, but for the purposes of this update, I am providing the

   following to the best of my recollection and understanding.

            10.      Surgeon 3 generally approved Ms. Iglesias for facial feminization. Facial feminization

   will likely be completed in two stages. The recovery time is two to three months minimum between

   surgenes. Surgeon 3's office has not yet provided a date of availability for the facial feminization

   surgenes.

            11.      Additionally, Ms. Iglesias is scheduled for a consultation for permanent hair removal

   (electrolysis) with a provider specializing in hair removal in the corning weeks. The appointment is a

   consultation for facial hair removal and hair removal at the surgical site.

            12.      BOP is aware that Ms. Iglesias is involved in criminal proceedings in the Southern

   District of Florida. BOP has communicated with the United States Attorney's Office (USAO) for

   the Southern District of Florida, who has indicated that Ms. Iglesias may be needed for court

   appearances in that district. BOP intends for Ms. Iglesias to remain housed at MCC Chicago and

   transported to Miami as needed. BOP has communicated with the USAO regarding Ms. Iglesias's



   1 Ms. Iglesias is currently housed at MCC Chicago. Inmates at secure facilities such as MCC Chicago are generally
   not given advance notice of dates that they will be transported outside of the facility (e.g. for a medicaI appointment)
   as doing so could present a security risk. Accordingly, in this declaration I use genera I time frames rather than exact
   dates of future medica I appointments here.

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